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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Norfolk Division
UNITED STATES OF AMERICA,
v. Criminal Action No. 2:19-cr-122
RICHARD ALLEN REED,
Defendant.
ORDER

This matter comes before the Court on the government’s unopposed motion to continue
the trial scheduled for September 28, 2020. (Dk. No. 41.) On August 11, 2020, the Court
granted the motion. (Dk. No. 42.) The Court held a conference call with both parties on August
18, 2020, to set a new trial date.

On July 8, 2020, the Court entered an Order detailing this case’s procedural history,
adopting Chief Judge Davis’s Speedy Trial findings in General Orders Nos. 2020-06, 2020-16,
and 2020-19, and excluding the period between March 16, 2020, and September 13, 2020, from
the Speedy Trial calculation. (Dk. No. 40.)

For the reasons stated in its July 8, 2020 Order, the Court ADOPTS the findings in
General Orders Nos. 2020-06, 2020-16, and 2020-19. Moreover, the Court again FINDS that the
ends of justice served by continuing the trial during this period outweigh the best interest of the
public and defendant in a speedy trial because: (1) not granting a continuance likely will make
conducting a jury trial within the current speedy trial calculation period impossible considering
the obstacles outlined in General Order Nos. 2020-06, 2020-16, 2020-19, and current social
distancing requirements; (2) a miscarriage of justice likely would result from proceeding with a
jury trial while COVID-19 continues to distract and disrupt the lives of jurors, defendants,

attorneys, and court staff; and (3) even if a jury trial could be held earlier, it would be
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unreasonable to expect adequate trial preparation while defendants, attorneys, and witnesses
remain under “safer-at-home” and other social distancing and mobility restrictions for the
foreseeable future. See 18 U.S.C. § 3161(h)(7)(A). Accordingly, the Court EXCLUDES the
period between March 16, 2020, and September 13, 2020, from the speedy trial calculation in
this matter.

Based on this exclusion and the Court’s finding that sixty-six (66) days have elapsed for
Speedy Trial purposes, the Court has until September 17, 2020, to commence trial. The parties,
however, have asked the Court to schedule the trial to begin on December 14, 2020, because the
government’s attorneys have another four- to five-week trial scheduled to begin on September
29, 2020. Considering this conflict and the government’s need to effectively prepare for trial, the
Court FINDS that the ends of justice served by continuing the trial outweigh the best interest of
the public and the defendant in a speedy trial in this case. See 18 U.S.C. § 3161(h)(7)(A),
(B)(iv). The Court, therefore, SCHEDULES this case for a jury trial beginning on December 14,
2020, at 9:00 a.m.

If the outbreak of COVID-19 requires the Court to reschedule the jury trial, the Court will
make further Speedy Trial Act findings at that time.

It is so ORDERED.

Let the Clerk send a copy of this Order to all counsel of record.

 

Date: 18 August 2020 i

Richmond, VA Is} / -
John A. Gibney, Jr. i Xf
United States District Gn

| Indeed, courts facing analogous circumstances have relied on the ends-of-justice
continuance to exclude trial delays from the speedy trial calculation. See, e.g., United States v.
Scott, 245 F. App’x 391, 394 (Sth Cir. 2007) (affirming speedy trial continuance justified in part
by the effect of Hurricane Katrina); Furlow v. United States, 644 F.2d 764, 768-69 (9th Cir.
1981) (affirming ends-of-justice continuance justified by eruption of Mt. St. Helens).

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